           Case 5:21-cv-00897-EGS Document 12 Filed 06/01/21 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

DAVID E. TRUMP,               :                                 CIVIL ACTION
                              :     Plaintiff,
     v.                       :                                 NO. 21-897
                              :
NORTHAMPTON COUNTY SHERIFF’S :
OFFICE, et al.,               :
                  Defendants. :


                                           CONFERENCE ORDER

       AND NOW, this 1st day of June, 2021, IT IS HEREBY ORDERED that a
SETTLEMENT CONFERENCE in the above-captioned case will be held on July 15, 2021 at
9:30 A.M., before the Honorable Marilyn Heffley, United States Magistrate Judge, U.S.
Courthouse, 601 Market Street, Courtroom 3-C, Philadelphia, PA 19106.

    •    Please notify the Court if settlement is not a real possibility.


    •    The conference will not be held unless counsel has clients with full and complete
         settlement authority physically present for the duration of the conference. Full and
         complete authority means the party’s representative must possess authority
         consistent with the most recent demand. 1

        Please complete the attached confidential settlement conference summary and e-mail it to
Chambers_Heffley@paed.uscourts.gov on or before July 8, 2021. These submissions shall be
submitted to the Court only, and should include a candid discussion of the submitting party's
strengths and weaknesses as well as an offer/demand settlement proposal. This document is not
to be shared with opposing counsel nor filed of record. It is for Judge Heffley’s eyes only.


                                                                BY THE COURT:


                                                                /s/ Marilyn Heffley____________________
                                                                MARILYN HEFFLEY
                                                                UNITED STATES MAGISTRATE JUDGE


1
          Parties include all persons, corporations or other business entities, and insurance companies with an interest
in the case, and each entity with an interest in the case must attend the conference. In the case of corporate or other
business entities, the corporate official with ultimate settlement authority is required to attend. Where an insurance
company is involved, a representative with full and complete settlement authority is also required to attend.
         Case 5:21-cv-00897-EGS Document 12 Filed 06/01/21 Page 2 of 2




             CONFIDENTIAL SETTLEMENT CONFERENCE SUMMARY


CAPTION: ___________________________________________________________
DISTRICT COURT JUDGE: __________________________________
TRIAL POOL DATE: __________________________                JURY / NONJURY (Circle One)


COUNSEL ATTENDING SETTLEMENT CONFERENCE:
Name:    ___________________________________________________________
Address: ___________________________________________________________
Phone:   ___________________________________________________________
Client:  ___________________________________________________________


CLIENT ATTENDING SETTLEMENT CONFERENCE:
Name of Individual with full and complete settlement authority who will be present at the
settlement conference (include company and position where applicable):
       __________________________________________________________________


MOTIONS PENDING:
    __________________________________________________________________
    __________________________________________________________________
    __________________________________________________________________


OTHER RELEVANT MATTERS:
    __________________________________________________________________
    __________________________________________________________________
    __________________________________________________________________


PRIOR DEMANDS/OFFERS (include demand/offer dates):

       _________________________________________________________________
       _________________________________________________________________


ATTACH SYNOPSIS OF CASE (The synopsis will include a candid discussion of the
submitting party’s strengths and weaknesses in the case as well as an offer/demand settlement
proposal and IS STRICTLY LIMITED TO NO MORE THAN FIVE (5) PAGES.)
